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                EXHIBIT “G”
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   NOT FOR PUBLICATION

                            IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF NEW JERSEY
                                      CAMDEN VICINAGE
   __________________________________
                                           :
   ELAINE LEVINS, WILLIAM LEVINS, :
   on behalf of themselves and others      :
   similarly situated,                     :
                                           :      Civil No. 17-928 (RBK/KMW)
                   Plaintiffs,             :
                                           :      ORDER
                   v.                      :
                                           :
   HEALTHCARE REVENUE RECOVERY :
   GROUP, LLC, d/b/a ARS ACCOUNT           :
   RESOLUTION SERVICES,                    :
                                           :
                   Defendant.              :
   __________________________________ :

   KUGLER, United States District Judge:

          THIS MATTER comes before the Court on the Motion for Summary Judgement (Doc.

   No. 50) filed by Defendant Healthcare Revenue Recovery Group, LLC (“HRRG”); and for the

   reasons set forth in the accompanying Opinion of this date

          IT IS HEREBY ORDERED that HRRG’s Motion for Summary Judgment is DENIED.



   Dated: 6/12/2020                                             /s/ Robert B. Kugler
                                                                ROBERT B. KUGLER
                                                                United States District Judge




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